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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



  TRUSTID, INC.,

                 Plaintiff,

                 v.                              Civil Action No. 18-172-LPS

  NEXT CALLER INC.,

                 Defendant.


                       NEXT CALLER INC.’S MOTION TO STRIKE

       Defendant Next Caller Inc. (“Next Caller”) respectfully moves this Court for an order,

substantially in the form attached hereto, striking Plaintiff TRUSTID, Inc.’s (“TRUSTID”)

Declaration of James R. Bress in Support of Plaintiff TRUSTID, Inc.’s Opening Claim

Construction Brief (D.I. 83) and any references thereto in TRUSTID’S Opening Claim

Construction Brief (D.I. 82) .

       The grounds for this motion are set forth in the letter filed contemporaneously herewith.
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Dated: April 22, 2019                       Respectfully Submitted,


                                            /s/ Kristen Healey Cramer
OF COUNSEL:                                 Kristen Healey Cramer (#4512)
                                            Dana Kathryn Severance (#4869)
Paul M. Schoenhard                          WOMBLE BOND DICKINSON (US) LLP
Nicole M. Jantzi                            1313 North Market Street
Ian B. Brooks                               Suite 1200
MCDERMOTT WILL & EMERY LLP                  Wilmington, DE 19801
500 North Capitol Street, N.W.              (302) 252-4320
Washington, D.C. 20001                      kristen.cramer@wbd-us.com
(202) 758-8000                              dana.severance@wbd-us.com
pschoenhard@mwe.com
njantzi@mwe.com                             Attorneys for Defendant Next Caller Inc.
ibrooks@mwe.com




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